         Case
   AO 106A (08/18) 8:24-mj-00458-DUTY
                   Application for a Warrant by Telephone Document
                                                          or Other Reliable 1      Filed
                                                                            Electronic     09/23/24
                                                                                       Means             Page 1 of 19 Page ID #:1


                                            UNITED STATES DISTRICT COURT
                                                                            for the
                                                                Central District
                                                             __________  Districtofof
                                                                                    California
                                                                                      __________

                      In the Matter of the Search of                          )
              (Briefly describe the property to be searched or identify the   )
                              person by name and address)                     )       Case No. 8: 24-MJ-00458
                            (See Attachment A)                                )
                                                                              )
                                                                              )
       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

         See Attachment A
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
         See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                        evidence of a crime;
                        contraband, fruits of crime, or other items illegally possessed;
                        property designed for use, intended for use, or used in committing a crime;
                        a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
                Code Section                                                             Offense Description
          21 U.S.C. § 841(a)(1)                                               Distribution and possession with intent to distribute a
                                                                              controlled substance.
          21 U.S.C. § 846                                                     Conspiracy to distribute or possess with intent
                                                                              to distribute a controlled substance.
          21 U.S.C. § 843(b)                                                  Unlawful use of a communication facility, including the
                                                                              mails, to facilitate the distribution of a controlled
                                                                              substance.
             The application is based on these facts:
                    See attached Affidavit
                        Continued on the attached sheet.
           Delayed notice of            days (give exact ending date if more than 30 days:                                       ) is requested
         under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                                      /s/ Sumyra Duy
                                                                                                        Applicant’s signature

                                                                                             Sumyra Duy, Special Agent USPIS
                                                                                                        Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                                        Judge’s signature

City and state:                Santa Ana, CA                                      Douglas F. McCormick, United States Magistrate Judge
                                                                                                        Printed name and title

AUSA: Brian Yang 714-338-3534
Case 8:24-mj-00458-DUTY    Document 1   Filed 09/23/24   Page 2 of 19 Page ID #:2



                                 AFFIDAVIT

      I, Sumyra Duy, being duly sworn, declare and state as

follows:

                          I. PURPOSE OF AFFIDAVIT

      1.    This affidavit is made in support of an application

for a warrant to search the following four United States Postal

Service (“USPS”) Priority Mail parcels in the custody of the

United States Postal Inspection Service (“USPIS”) in Santa Ana,

California, within the Central District of California

(collectively, the “SUBJECT PARCELS”), as described more fully

in Attachment A:

            a.   A USPS Priority Mail parcel bearing tracking

number 9505 5131 8345 4261 6098 38 (“SUBJECT PARCEL 1”);

            b.   A USPS Priority Mail parcel bearing tracking

number 9505 5131 8345 4261 6098 52 (“SUBJECT PARCEL 2”);

            c.   A USPS Priority Mail parcel bearing tracking

number 9505 5131 8345 4261 6098 76 (“SUBJECT PARCEL 3”);

            d.   A USPS Priority Mail parcel bearing tracking

number 9505 5131 8345 4261 6098 90 (“SUBJECT PARCEL 4”);

      2.    The requested search warrant seeks authorization to

seize evidence, fruits, and instrumentalities of violations of

Title 21, United States Code, Sections 841(a)(1) (distribution

and possession with intent to distribute a controlled

substance); 846 (conspiracy to distribute or possess with intent

to distribute a controlled substance); and 843(b) (unlawful use

of a communication facility, including the mails, to facilitate

the distribution of a controlled substance) (the “Subject
Case 8:24-mj-00458-DUTY   Document 1   Filed 09/23/24   Page 3 of 19 Page ID #:3



Offenses”), as described more fully in Attachment B.

Attachments A and B are incorporated by reference herein.

      3.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.      This affidavit is intended to show merely that there

is sufficient probable cause for the requested warrant and does

not purport to set forth all of my knowledge of or investigation

into this matter.      Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only, and all dates and times

are on or about those indicated.
                       II. TRAINING AND EXPERIENCE

      4.      I am a United States Postal Inspector (“USPI”) with

the United States Postal Inspection Service (“USPIS”) and have

been so employed since May 2012.        I am currently assigned to the

Contraband Interdiction and Investigation - South Team of the

Los Angeles Division, which is responsible for investigating

drug trafficking violations involving the United States Mail to

distribute controlled substances and/or controlled substances

proceeds.

      5.      I have completed a twelve-week basic law enforcement

training course in Potomac, Maryland, which included training in

the investigation of narcotics trafficking via the United States

Mail.      Additionally, I have attended a 40-hour Los Angeles

Police Department Peace Officer Standards and Training Certified

Academy Narcotics School.      Prior to becoming a USPI, I worked as



                                        2
Case 8:24-mj-00458-DUTY   Document 1   Filed 09/23/24   Page 4 of 19 Page ID #:4



a financial investigator.      I hold a Bachelor of Arts degree from

California State University, Fullerton in Sociology and a

Master’s of Advanced Study from University of California, Irvine

in Criminology, Law and Society.        As part of my law enforcement

duties, I have conducted numerous parcel investigations that

have resulted in the arrest of individuals who have received and

distributed controlled substances, as well as the seizure of the

controlled substances and/or the proceeds of the sales of

controlled substances.
                    III. SUMMARY OF PROBABLE CAUSE

      6.    On or about September 17, 2024, at the Santa Ana Post

Office in Orange County, California, I and other Law Enforcement

Officers identified the SUBJECT PARCELS as meeting some of the

following criteria common to packages containing contraband,

including there were numerous packages packaged in a similar

manner but using two different return addresses, all the seams

of the parcels were taped, sender addresses only included a

first name, recipient addresses only included first name last

initial, and according to law enforcement and USPS databases,

contained names that did not associate to their respective

addresses or unable to fully verify due to the lack of last

names, and the use of an invalid sender address.

      7.    Additionally, on or about September 18, 2024, a

trained drug detection dog alerted to each of the SUBJECT

PARCELS for the presence of drugs or other items, such as the

proceeds of drug sales that have been contaminated by drugs.




                                        3
Case 8:24-mj-00458-DUTY   Document 1   Filed 09/23/24   Page 5 of 19 Page ID #:5



                    IV. STATEMENT OF PROBABLE CAUSE

      A.    Background on Use of Mails for Drug Trafficking

      8.    Based on my training and experience as a Postal

Inspector, and the experiences related to me by other Postal

Inspectors who specialize in drug investigations, I know the

following:

            a.   Postal Inspectors have been conducting

investigations of drug trafficking via USPS Express Mail and

Priority Mail since the mid-1980s.          In the early 1990s, Postal

Inspectors in Los Angeles, California, began conducting

organized interdictions of Priority Mail Express and Priority

Mail parcels suspected of containing controlled substances and

proceeds from the sale of controlled substances.            Postal

Inspectors also regularly examined and investigated Priority

Mail Express and Priority Mail parcels.          During the 1990s,

Postal Inspectors observed that the trend was for drug

traffickers to send controlled substances and proceeds from the

sale of controlled substances, in the form of cash, using boxes.

            b.   Although Postal Inspectors still see boxes used

to send for controlled substances and cash, there has been a

gradual change over the years toward the current trend of using

smaller boxes, flat cardboard envelopes, and Tyvek envelopes,

with proceeds from the sale of controlled substances converted

to money orders.     By using money orders, drug traffickers are

able to send large dollar amounts in compact form, using much

smaller conveyances, which lend a sense of legitimacy to the

parcel’s appearance.



                                        4
Case 8:24-mj-00458-DUTY   Document 1     Filed 09/23/24   Page 6 of 19 Page ID #:6



            c.   Los Angeles is a significant source area for

controlled substances. Controlled substances are frequently

transported from the Los Angeles area via U.S. Mail, and the

proceeds from the sale of controlled substances are frequently

returned to the Los Angeles area via U.S. Mail.              These proceeds

are generally in the form of money orders, bank checks, or

similar monetary instruments in an amount over $1,000.                Based on

my training and experience, I know that proceeds from the sale

of controlled substances often contain the odor of drugs because

they have been contaminated by or associated with the odor of

one or more drugs.

            d.   Drug distributors often use USPS Priority Mail

Express, which is the USPS overnight/next day delivery mail

product, or Priority Mail Service, which is the USPS two-to-

three-day delivery mail product.          Drug distributors use the

Priority Mail Express delivery service because of its speed,

reliability, and the ability to track the parcel’s progress to

delivery.    Drug distributors use the Priority Mail delivery

service because it provides them more time for travel between

states if they decide to follow their shipments to their

destination for distribution.          Also, by adding delivery

confirmation to a Priority Mail parcel, drug traffickers have

the ability to track the parcel’s progress to the intended

delivery point, as if the parcel had been mailed using the

Priority Mail 2-Day Service.

      9.    Based on my training and experience, and the

collective experiences shared with me by fellow Postal



                                          5
Case 8:24-mj-00458-DUTY   Document 1   Filed 09/23/24   Page 7 of 19 Page ID #:7



Inspectors who specialize in investigations involving the

mailing of controlled substances and proceeds from the sale of

controlled substances, I know that the following indicia suggest

that a parcel may contain drugs or drug trafficking proceeds:

            a.   The parcel is contained in a Large Flat Rate

cardboard box;

            b.   The parcel bears a handwritten or typed label,

whether USPS Express Mail or Priority Mail;

            c.   The handwritten or typed label on the parcel does

not contain a business account number;

            d.   The seams of the parcel are all taped or glued

shut;

            e.   The parcel emits an odor of a cleaning agent or

adhesive or spray foam that can be detected by a human; and

            f.   Multiple parcels are mailed by the same

individual, on the same day, from different locations.

      10.   Parcels exhibiting such indicia may be subject to

further investigation, which may include verification of the

addressee and return addresses.

      11.   I know from my training and experience that drug

traffickers often use fictitious or incomplete names and

addresses in an effort to conceal their identities from law

enforcement officers investigating these types of cases.              To the

extent that real addresses are ever used, it is only to lend a

legitimate appearance to the parcel and is almost always paired

with a false name.




                                        6
Case 8:24-mj-00458-DUTY   Document 1   Filed 09/23/24   Page 8 of 19 Page ID #:8



      B.    Initial Investigation of the SUBJECT PARCELS

      12.   On or about September 17, 2024, during routine parcel

inspections at the Santa Ana Post Office, I determined that the

SUBJECT PARCELS met some of the initial suspicious

characteristics as described above.         Specifically, I determined

the following:

            a.   SUBJECT PARCEL 1 is a USPS Priority Mail parcel

bearing tracking number 9505 5131 8345 4261 6098 38.             SUBJECT

PARCEL 1 is white colored, USPS Priority Mail medium flat rate

cardboard box.    SUBJECT PARCEL 1 seams are all taped and only

has a first name listed with the return address and a last name

initial for the recipient address.          According to USPS and CLEAR

database records, the return address listed on SUBJECT PARCEL 1

– “722 E Walnut St., Santa Ana, CA 92701” – appears to be a

legitimate address but is missing an apartment number. The name

listed with the return address; “Chris” may associate to the

address but is missing a last name.         The recipient address

listed on SUBJECT PARCEL 1 – “380 Tilley Rd., Laurel Springs, NC

28644” – appears to be a legitimate address and the listed

recipient, “Brandon H.” may associate to the address as a

“Brandon Hawkins” does, but records indicate he is deceased.

            b.   SUBJECT PARCEL 2 is a USPS Priority Mail parcel

bearing tracking number 9505 5131 8345 4261 6098 52.             SUBJECT

PARCEL 2 is white colored, USPS Priority Mail medium flat rate

cardboard box.    SUBJECT PARCEL 2 seams are all taped and only

has a first name listed with the return address and a first name

and last name initial for the recipient address.            According to



                                        7
Case 8:24-mj-00458-DUTY   Document 1   Filed 09/23/24   Page 9 of 19 Page ID #:9



USPS and CLEAR database records, the return address listed on

SUBJECT PARCEL 2 – “302 W Second St., Santa Ana, CA 92701” does

not appear to be a legitimate address.          The recipient address

listed on SUBJECT PARCEL 2 – “1048 Duckhorn Dr. Apt 11,

Richmond, KY 40475” appears to be a legitimate address, and the

listed recipient, “Chase H.” does not associate to the address.

            c.   SUBJECT PARCEL 3 is a USPS Priority Mail parcel

bearing tracking number 9505 5131 8345 4261 6098 76.             SUBJECT

PARCEL 3 is white colored, USPS Priority Mail medium flat rate

cardboard box. SUBJECT PARCEL 3 seams are all taped and only has

a first name listed with the return address and a first name and

last name initial for the recipient address.            According to USPS

and CLEAR database records, the return address listed on SUBJECT

PARCEL 3 – “302 W Second St., Santa Ana, CA 92701” does not

appear to be a legitimate address.          The recipient address listed

on SUBJECT PARCEL 3 – “7524 Viburnum, Punta Gorda, FL 33955”

appears to be a legitimate address, and the listed recipient,

“Mariah M.” may associate to the address, as a “Mariah Moody”

does.

            d.   SUBJECT PARCEL 4 is a USPS Priority Mail parcel

bearing tracking number 9505 5131 8345 4261 6098 90.             SUBJECT

PARCEL 4 is white colored, USPS Priority Mail medium flat rate

cardboard box.    SUBJECT PARCEL 4 seams are all taped and only

has a first name listed with the return address and a first name

and last name initial for the recipient address.            According to

USPS and CLEAR database records, the return address listed on

SUBJECT PARCEL 4 – “302 W Second St., Santa Ana, CA 92701” does



                                        8
Case 8:24-mj-00458-DUTY   Document 1   Filed 09/23/24   Page 10 of 19 Page ID #:10



 not appear to be a legitimate address.          The recipient address

 listed on SUBJECT PARCEL 4 – “23411 Hill Rd., Racine, OH 45771,”

 appears to be a legitimate address, and the listed recipient,

 “Jarod W.” may associate to the address, as a “Jarod Wolfe”

 does.

       C.    Drug-Detection Dog Alerts to the SUBJECT PARCELS

       13.   On or about September 18, 2024, based on the

 suspicious characteristics of the SUBJECT PARCELS, Santa Ana

 Police Department Detective Gabriel Gutierrez and his narcotics-

 detection canine, “Poppy”, examined the exterior of the SUBJECT

 PARCELS.    I learned from Det. Gutierrez that Poppy gave a

 positive alert to SUBJECT PARCEL 1 through SUBJECT PARCEL 4

 separately, indicating the presence of controlled substances or

 other items, such as the proceeds of controlled substances,

 which have been recently contaminated with the odor of

 controlled substances.      Attached hereto as Exhibit 1, which I

 incorporate fully herein by reference, are documents setting

 forth information provided by Detective Gutierrez regarding

 Poppy’s training and history in detecting controlled substances,

 and the examination of SUBJECT PARCELS 1 through 4.

                               V. CONCLUSION

       14.   For the reasons above, there is probable cause to

 believe that the SUBJECT PARCELS, as described in Attachment A,

 contain evidence, fruits, and instrumentalities of violations of

 Title 21, United States Code, Sections 841(a)(1) (distribution

 and possession with intent to distribute a controlled

 substance); 846 (conspiracy to distribute or possess with intent



                                          9
Case 8:24-mj-00458-DUTY   Document 1   Filed 09/23/24   Page 11 of 19 Page ID #:11



 to distribute a controlled substance); and 843(b) (unlawful use

 of a communication facility, including the mails, to facilitate

 the distribution of a controlled substance), as described in

 Attachment B.



 Attested to by the applicant in
 accordance with the requirements
 of Fed. R. Crim. P. 4.1 by
 telephone on this 23th day of
 September 2024.



 HONORABLE DOUGLAS F. McCORMICK
 UNITED STATES MAGISTRATE JUDGE




                                         10
Case 8:24-mj-00458-DUTY   Document 1   Filed 09/23/24     Page 12 of 19 Page ID #:12



                                ATTACHMENT A

 PARCELS TO BE SEARCHED

       The following United States Postal Service (“USPS”) parcels

 seized from the mail stream on September 17, 2024, are currently

 in the custody of the United States Postal Inspection Service in

 Santa Ana, California:

             a.    SUBJECT PARCEL 1 is a USPS Priority Mail parcel

 bearing tracking number 9505 5131 8345 4261 6098 38.               SUBJECT

 PARCEL 1 is white colored, USPS Priority Mail medium flat rate

 cardboard box.     SUBJECT PARCEL 1 is addressed to “Brandon H.,

 380 Tilley Rd., Laurel Springs, NC 28644.”              The return address

 listed on SUBJECT PARCEL 1 is “Chris, 722 E. Walnut St., Santa

 Ana, CA 92701.”     SUBJECT PARCEL 1 was postmarked September 17,

 2024, in the 92702 zip code.

             b.    SUBJECT PARCEL 2 is a USPS Priority Mail parcel

 bearing tracking number 9505 5131 8345 4261 6098 52.               SUBJECT

 PARCEL 2 is white colored, USPS Priority Mail medium flat rate

 cardboard box.     SUBJECT PARCEL 2 is addressed to “Chase H., 1048

 Duckhorn Dr. Apt 11, Richmond, KY 40475.”              The return address

 listed on SUBJECT PARCEL 2 is “Greg, 302 W. Second St., Santa

 Ana, CA 92701.”     SUBJECT PARCEL 2 was postmarked September 17,

 2024, in the 92702 zip code.

             c.    SUBJECT PARCEL 3 is a USPS Priority Mail parcel

 bearing tracking number 9505 5131 8345 4261 6098 76.               SUBJECT

 PARCEL 3 is white colored, USPS Priority Mail medium flat rate

 cardboard box.     SUBJECT PARCEL 3 is addressed to “Mariah M.,

 7524 Viburnum, Punta Gorda, FL 33955.”          The return address



                                          i
Case 8:24-mj-00458-DUTY   Document 1   Filed 09/23/24   Page 13 of 19 Page ID #:13



 listed on SUBJECT PARCEL 3 is “Greg, 302 W. Second St., Santa

 Ana, CA 92701.”     SUBJECT PARCEL 3 was postmarked September 17,

 2024, in the 92702 zip code.

             d.    SUBJECT PARCEL 4 is a USPS Priority Mail parcel

 bearing tracking number 9505 5131 8345 4261 6098 90.             SUBJECT

 PARCEL 4 is white colored, USPS Priority Mail medium flat rate

 cardboard box.     SUBJECT PARCEL 4 is addressed to “Jarod W.,

 23411 Hill Rd., Racine, OH 45771.”         The return address listed on

 SUBJECT PARCEL 4 is “Greg, 302 W. Second St., Santa Ana, CA

 92701.”    SUBJECT PARCEL 4 was postmarked September 17, 2024, in

 the 92702 zip code.




                                         ii
Case 8:24-mj-00458-DUTY   Document 1   Filed 09/23/24   Page 14 of 19 Page ID #:14



                                ATTACHMENT B

 ITEMS TO BE SEIZED

       The items to be seized are evidence, contraband, fruits,

 and instrumentalities of violations of Title 21, United States

 Code, Sections 841(a)(1) (distribution and possession with

 intent to distribute a controlled substance); 846 (conspiracy to

 distribute or possess with intent to distribute a controlled

 substance); and 843(b) (unlawful use of a communication

 facility, including the mails, to facilitate the distribution of

 a controlled substance) (the “Subject Offenses”), namely:

             a.   Any controlled substances, including marijuana;

             b.   Currency, money orders, bank checks, or similar

 monetary instruments in aggregate quantities over $1,000; and

             c.   Parcel wrappings, and any associated packaging

 material.




                                        iii
Case 8:24-mj-00458-DUTY   Document 1   Filed 09/23/24   Page 15 of 19 Page ID #:15




                  EXHIBIT 1
Case 8:24-mj-00458-DUTY         Document 1       Filed 09/23/24      Page 16 of 19 Page ID #:16
                                       AFFIDAVIT

                             HANDLER GABRIEL GUTIERREZ
                                  AND K9 "POPPY"

  I am currently employed by the Santa Ana Police Department, and assigned as a Detective
  to the Vice/Narcotics Unit. As of April 7th, 2021, I was assigned as a Narcotic Detection
  Canine Handler. “Poppy” who is a 5 year old female Black Labrador Retriever, was acquired
  by the Santa Ana Police Department on April 7th, 2021. Subsequently, I was assigned as
  POPPY’S full-time canine handler on this day.

  POPPY and I have received training as a Narcotic Detection Canine Team by “Scenturion
  Canine Consulting LLC,” which is located in Fontana, California. Poppy and I completed 4
  weeks of formal Narcotic Detection Training taught by “Scenturion Canine Consulting LLC”
  from April 12, 2021 through May 6th, 2021. During that time, POPPY has been trained to
  detect and alert to the odors of Marijuana, Methamphetamine, Cocaine, Heroin, MDMA
  (Ecstasy) and their derivative. POPPY has been trained to show a “passive alert” in
  response to detecting any of these narcotic odors. Prior to her final alert POPPY will often
  make sudden change of direction towards the source of the odor, her breathing pattern will
  change and she may take several deep inhalations through his nose, and then appear to stop
  taking breaths. Also, without direction, POPPY may also jump up into and/or crawl under
  obstacles to get closer to the source of the odor(s). This passive alert may also indicate
  item(s) that may have recently been contaminated with the odor of one or more of the
  aforementioned narcotics for which POPPY has been trained to detect.

  Also, while training at “Scenturion Canine Consulting LLC,” POPPY and I completed over 400
  narcotic related and “blank” sniffs. These sniffs consisted of commercial buildings, residential
  homes, vehicles, transport trucks, packages/parcels, luggage, and many other different types
  of structures and objects. During these training sessions, the “training aids” were concealed
  in various locations, inside and/or outside, and POPPY was used to detect and locate them.
  POPPY and I, have also conducted sniffs where there were no narcotics present (blanks),
  and POPPY did not adversely alert to these locations that were deemed blank.

  On May 6th, 2021, POPPY and I passed the initial California POST certification process
  through “CNCA,” which was conducted by a recognized CNCA Certified K9 trainer/instructor,
  to detect the odors of Marijuana, Methamphetamine, Cocaine, Heroin, MDMA (Ecstasy) and
  their derivative. It was on this day, POPPY and I became a CA POST Certified
  Narcotics Detection Team. On January 14, 2022, December 22, 2022 and November 7,
  2023, POPPY and I re-certified as a CA POST Certified Narcotics Detection Team
  through “CNCA”. I am also a current member of the California Narcotics Officers
  Association (CNOA).

  During the week of June 6, 2023, Poppy was trained to detect and alert to the odor of
  Fentanyl and its derivatives. On June 9, 2023, Poppy and I passed the California POST
  certification process through “CNCA,” which was conducted by a recognized CNCA Certified
  K9 trainer/instructor, to detect the odor of Fentanyl and its derivatives.

  On September 18, 2024, my police canine and I assisted with a narcotic
  parcel investigation. Canine Poppy alerted to the presence of the odor of illegal
  narcotics emitting from the following parcel.

                9505 5131 8345 4261 6098 38
  USPS Parcel: __________________________________
                380 Tilley Rd Laurel
  Addressed To: Springs NC 28644

                 (Brandon H)
                                                      __________________________________
                                                      Detective Corporal G. Gutierrez #3252
                                                                    Santa Ana PD
Case 8:24-mj-00458-DUTY         Document 1       Filed 09/23/24      Page 17 of 19 Page ID #:17
                                       AFFIDAVIT

                             HANDLER GABRIEL GUTIERREZ
                                  AND K9 "POPPY"

  I am currently employed by the Santa Ana Police Department, and assigned as a Detective
  to the Vice/Narcotics Unit. As of April 7th, 2021, I was assigned as a Narcotic Detection
  Canine Handler. “Poppy” who is a 5 year old female Black Labrador Retriever, was acquired
  by the Santa Ana Police Department on April 7th, 2021. Subsequently, I was assigned as
  POPPY’S full-time canine handler on this day.

  POPPY and I have received training as a Narcotic Detection Canine Team by “Scenturion
  Canine Consulting LLC,” which is located in Fontana, California. Poppy and I completed 4
  weeks of formal Narcotic Detection Training taught by “Scenturion Canine Consulting LLC”
  from April 12, 2021 through May 6th, 2021. During that time, POPPY has been trained to
  detect and alert to the odors of Marijuana, Methamphetamine, Cocaine, Heroin, MDMA
  (Ecstasy) and their derivative. POPPY has been trained to show a “passive alert” in
  response to detecting any of these narcotic odors. Prior to her final alert POPPY will often
  make sudden change of direction towards the source of the odor, her breathing pattern will
  change and she may take several deep inhalations through his nose, and then appear to stop
  taking breaths. Also, without direction, POPPY may also jump up into and/or crawl under
  obstacles to get closer to the source of the odor(s). This passive alert may also indicate
  item(s) that may have recently been contaminated with the odor of one or more of the
  aforementioned narcotics for which POPPY has been trained to detect.

  Also, while training at “Scenturion Canine Consulting LLC,” POPPY and I completed over 400
  narcotic related and “blank” sniffs. These sniffs consisted of commercial buildings, residential
  homes, vehicles, transport trucks, packages/parcels, luggage, and many other different types
  of structures and objects. During these training sessions, the “training aids” were concealed
  in various locations, inside and/or outside, and POPPY was used to detect and locate them.
  POPPY and I, have also conducted sniffs where there were no narcotics present (blanks),
  and POPPY did not adversely alert to these locations that were deemed blank.

  On May 6th, 2021, POPPY and I passed the initial California POST certification process
  through “CNCA,” which was conducted by a recognized CNCA Certified K9 trainer/instructor,
  to detect the odors of Marijuana, Methamphetamine, Cocaine, Heroin, MDMA (Ecstasy) and
  their derivative. It was on this day, POPPY and I became a CA POST Certified
  Narcotics Detection Team. On January 14, 2022, December 22, 2022 and November 7,
  2023, POPPY and I re-certified as a CA POST Certified Narcotics Detection Team
  through “CNCA”. I am also a current member of the California Narcotics Officers
  Association (CNOA).

  During the week of June 6, 2023, Poppy was trained to detect and alert to the odor of
  Fentanyl and its derivatives. On June 9, 2023, Poppy and I passed the California POST
  certification process through “CNCA,” which was conducted by a recognized CNCA Certified
  K9 trainer/instructor, to detect the odor of Fentanyl and its derivatives.

  On September 18, 2024, my police canine and I assisted with a narcotic
  parcel investigation. Canine Poppy alerted to the presence of the odor of illegal
  narcotics emitting from the following parcel.

                9505 5131 8345 4261 6098 52
  USPS Parcel: __________________________________

  Addressed To: 1048 DuckhoRn DR
                Apt 11 Richmond, KY
                40475

                 (Chase H)                            __________________________________
                                                      Detective Corporal G. Gutierrez #3252
                                                                    Santa Ana PD
Case 8:24-mj-00458-DUTY         Document 1       Filed 09/23/24      Page 18 of 19 Page ID #:18
                                       AFFIDAVIT

                             HANDLER GABRIEL GUTIERREZ
                                  AND K9 "POPPY"

  I am currently employed by the Santa Ana Police Department, and assigned as a Detective
  to the Vice/Narcotics Unit. As of April 7th, 2021, I was assigned as a Narcotic Detection
  Canine Handler. “Poppy” who is a 5 year old female Black Labrador Retriever, was acquired
  by the Santa Ana Police Department on April 7th, 2021. Subsequently, I was assigned as
  POPPY’S full-time canine handler on this day.

  POPPY and I have received training as a Narcotic Detection Canine Team by “Scenturion
  Canine Consulting LLC,” which is located in Fontana, California. Poppy and I completed 4
  weeks of formal Narcotic Detection Training taught by “Scenturion Canine Consulting LLC”
  from April 12, 2021 through May 6th, 2021. During that time, POPPY has been trained to
  detect and alert to the odors of Marijuana, Methamphetamine, Cocaine, Heroin, MDMA
  (Ecstasy) and their derivative. POPPY has been trained to show a “passive alert” in
  response to detecting any of these narcotic odors. Prior to her final alert POPPY will often
  make sudden change of direction towards the source of the odor, her breathing pattern will
  change and she may take several deep inhalations through his nose, and then appear to stop
  taking breaths. Also, without direction, POPPY may also jump up into and/or crawl under
  obstacles to get closer to the source of the odor(s). This passive alert may also indicate
  item(s) that may have recently been contaminated with the odor of one or more of the
  aforementioned narcotics for which POPPY has been trained to detect.

  Also, while training at “Scenturion Canine Consulting LLC,” POPPY and I completed over 400
  narcotic related and “blank” sniffs. These sniffs consisted of commercial buildings, residential
  homes, vehicles, transport trucks, packages/parcels, luggage, and many other different types
  of structures and objects. During these training sessions, the “training aids” were concealed
  in various locations, inside and/or outside, and POPPY was used to detect and locate them.
  POPPY and I, have also conducted sniffs where there were no narcotics present (blanks),
  and POPPY did not adversely alert to these locations that were deemed blank.

  On May 6th, 2021, POPPY and I passed the initial California POST certification process
  through “CNCA,” which was conducted by a recognized CNCA Certified K9 trainer/instructor,
  to detect the odors of Marijuana, Methamphetamine, Cocaine, Heroin, MDMA (Ecstasy) and
  their derivative. It was on this day, POPPY and I became a CA POST Certified
  Narcotics Detection Team. On January 14, 2022, December 22, 2022 and November 7,
  2023, POPPY and I re-certified as a CA POST Certified Narcotics Detection Team
  through “CNCA”. I am also a current member of the California Narcotics Officers
  Association (CNOA).

  During the week of June 6, 2023, Poppy was trained to detect and alert to the odor of
  Fentanyl and its derivatives. On June 9, 2023, Poppy and I passed the California POST
  certification process through “CNCA,” which was conducted by a recognized CNCA Certified
  K9 trainer/instructor, to detect the odor of Fentanyl and its derivatives.

  On September 18, 2024, my police canine and I assisted with a narcotic
  parcel investigation. Canine Poppy alerted to the presence of the odor of illegal
  narcotics emitting from the following parcel.

                9505 5131 8345 4261 6098 76
  USPS Parcel: __________________________________

  Addressed To: 7524 VibuRnum
                Punta GoRda, Fl 33955

                (MaRiah M)
                                                      __________________________________
                                                      Detective Corporal G. Gutierrez #3252
                                                                    Santa Ana PD
Case 8:24-mj-00458-DUTY         Document 1       Filed 09/23/24      Page 19 of 19 Page ID #:19
                                       AFFIDAVIT

                             HANDLER GABRIEL GUTIERREZ
                                  AND K9 "POPPY"

  I am currently employed by the Santa Ana Police Department, and assigned as a Detective
  to the Vice/Narcotics Unit. As of April 7th, 2021, I was assigned as a Narcotic Detection
  Canine Handler. “Poppy” who is a 5 year old female Black Labrador Retriever, was acquired
  by the Santa Ana Police Department on April 7th, 2021. Subsequently, I was assigned as
  POPPY’S full-time canine handler on this day.

  POPPY and I have received training as a Narcotic Detection Canine Team by “Scenturion
  Canine Consulting LLC,” which is located in Fontana, California. Poppy and I completed 4
  weeks of formal Narcotic Detection Training taught by “Scenturion Canine Consulting LLC”
  from April 12, 2021 through May 6th, 2021. During that time, POPPY has been trained to
  detect and alert to the odors of Marijuana, Methamphetamine, Cocaine, Heroin, MDMA
  (Ecstasy) and their derivative. POPPY has been trained to show a “passive alert” in
  response to detecting any of these narcotic odors. Prior to her final alert POPPY will often
  make sudden change of direction towards the source of the odor, her breathing pattern will
  change and she may take several deep inhalations through his nose, and then appear to stop
  taking breaths. Also, without direction, POPPY may also jump up into and/or crawl under
  obstacles to get closer to the source of the odor(s). This passive alert may also indicate
  item(s) that may have recently been contaminated with the odor of one or more of the
  aforementioned narcotics for which POPPY has been trained to detect.

  Also, while training at “Scenturion Canine Consulting LLC,” POPPY and I completed over 400
  narcotic related and “blank” sniffs. These sniffs consisted of commercial buildings, residential
  homes, vehicles, transport trucks, packages/parcels, luggage, and many other different types
  of structures and objects. During these training sessions, the “training aids” were concealed
  in various locations, inside and/or outside, and POPPY was used to detect and locate them.
  POPPY and I, have also conducted sniffs where there were no narcotics present (blanks),
  and POPPY did not adversely alert to these locations that were deemed blank.

  On May 6th, 2021, POPPY and I passed the initial California POST certification process
  through “CNCA,” which was conducted by a recognized CNCA Certified K9 trainer/instructor,
  to detect the odors of Marijuana, Methamphetamine, Cocaine, Heroin, MDMA (Ecstasy) and
  their derivative. It was on this day, POPPY and I became a CA POST Certified
  Narcotics Detection Team. On January 14, 2022, December 22, 2022 and November 7,
  2023, POPPY and I re-certified as a CA POST Certified Narcotics Detection Team
  through “CNCA”. I am also a current member of the California Narcotics Officers
  Association (CNOA).

  During the week of June 6, 2023, Poppy was trained to detect and alert to the odor of
  Fentanyl and its derivatives. On June 9, 2023, Poppy and I passed the California POST
  certification process through “CNCA,” which was conducted by a recognized CNCA Certified
  K9 trainer/instructor, to detect the odor of Fentanyl and its derivatives.

  On September 18, 2024, my police canine and I assisted with a narcotic
  parcel investigation. Canine Poppy alerted to the presence of the odor of illegal
  narcotics emitting from the following parcel.

                9505 5131 8345 4261 6098 90
  USPS Parcel: __________________________________

  Addressed To: 23411 Hill Rd
                Racine, OH 45771

                 (Jarod W)
                                                      __________________________________
                                                      Detective Corporal G. Gutierrez #3252
                                                                    Santa Ana PD
